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                        UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TEXAS
                                     OFFICE OF THE CLERK

   David A. O’Toole                                                               211 West Ferguson
    Clerk of Clerk                                                                 Tyler, TX 75702



                                         October 28, 2021
Brian Andrew Carpenter
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1700 Pacific Avenue
Suite 4750
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Kevin B Collins
Covington & Burling - Washington
1201 Pennsylvania Ave, NW
Washington, DC 20004
                           In re: LBS Innovations LLC v. Sally Beauty Supply LLC et al
                                 2:11-CV-409

Dear Counsel and Parties,

        The above-mentioned case was previously assigned to Chief Judge Rodney Gilstrap.

          Chief Judge Gilstrap informed me that it has been brought to his attention that, while
 the case was assigned to him, a trust in which his spouse has an interest held stock in Home
 Depot. The trust’s ownership of stock neither affected nor impacted Chief Judge Gilstrap’s
 decisions, if he in fact made any decisions, in this case. However, the trust’s stock ownership
 may have required recusal under the Code of Conduct for United States Judges, and thus, Chief
 Judge Gilstrap directed that I notify the parties.

        Advisory Opinion 71, from the Judicial Conference Codes of Conduct Committee,
 provides the following guidance for addressing disqualification that is not discovered until after
 a judge has participated in a case:

                 [A] judge should disclose to the parties the facts bearing on
                 disqualification as soon as those facts are learned, even though
                 that may occur after entry of the decision. The parties may then
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                determine what relief they may seek and a court (without the
                disqualified judge) will decide the legal consequence, if any,
                arising from the participation of the disqualified judge in the
                entered decision.

        Although Advisory Opinion 71 contemplated disqualification after a Court of Appeals
 oral argument, the Committee explained “[s]imilar considerations would apply when a
 judgment was entered in a district court by a judge and it is later learned that the judge was
 disqualified.”

         With Advisory Opinion 71 in mind, you are invited to respond to Chief Judge
 Gilstrap’s disclosures regarding this case. Should you wish to respond, please submit your
 response within the next 30 days. Any response will be considered by another judge of this
 court without the participation of Chief Judge Gilstrap.


                                     Sincerely,

                                     _______________________________________
                                     David A. O’Toole
                                     Clerk of Court
